         Case 5:24-cv-00078-SLP       Document 31       Filed 11/27/24     Page 1 of 3




                            UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF OKLAHOMA
ENSURETY VENTURES, LLC and EGV
COMPANIES, INC.,
         Plaintiffs,
v.                                                    Case No. CIV-24-78-SLP
COURTNEY SNYDER, a/k/a ANDREW
JACKSON, NATASHA SNYDER, ALAN
MCCALIP, AUTOBANC, LLC, GOLD KEY
WARRANTY, LLC, d/b/a CONSUMER CARE
DIRECT, NATIONAL ADMINISTRATIVE
SERVICE CO., LLC, FINAL YARD
CONSULTING, LLC, DESERT CONSULTING
GROUP, LLC,
         Defendants.

              DEFENDANTS’ NOTICE OF SUBPOENAS DUCES TECUM TO
           MOXY SOLUTIONS, INC., PAYLINK PAYMENT PLANS, LLC D/B/A
     PAYLINK DIRECT, FORTEGRA FINANCIAL CORPORATION, VSC DIRECT, LLC,
        OMNISURE GROUP, LLC, FORTE DATA SYSTEMS, INC., JEFF BIRMES,
          ST. AUBREY SERVICES, LLC, BUDCO FINANCIAL SERVICES, INC.,
      WALCO FUNDING LLC, INLINE DATA SYSTEMS, LLC, AND ASSURANT, INC.

        Please take notice that, pursuant to Fed.R.Civ.P. 45and LcvR 45.1, Defendants, Courtney

Snyder, a/k/a Andrew Jackson, Natasha Snyder, Alan McCalip, Autobanc, LLC, Gold Key

Warranty, LLC, d/b/a Consumer Care Direct, Final Yard Consulting, LLC, and Desert Consulting

Group, LLC, shall cause Subpoenas to Produce Documents, Information, or Objects or to Permit

Inspection of Premises in a Civil Action to be issued to Moxy Solutions, Inc., Paylink Payment

Plans, LLC d/b/a Paylink Direct, Fortegra Financial Corporation, VSC Direct, LLC, Omnisure

Group, LLC, Forte Data Systems, Inc., Jeff Birmes, St. Aubrey Services, LLC, Budco Financial

Services, Inc., Walco Funding LLC, Inline Data Systems, LLC, and Assurant, Inc., to produce and

permit the inspection and copying of documents in their possession, custody and control as

described on Exhibit 1 to each Subpoena, true and correct copies of which are attached hereto as



#22074459.1
        Case 5:24-cv-00078-SLP        Document 31       Filed 11/27/24    Page 2 of 3




Exhibits 1 through 12. The document production will take place fourteen (14) days from service

at the offices of Durbin, Larimore & Bialick, located at 920 North Harvey, Oklahoma City, OK

73102, unless a different time and place are agreed upon among the parties and the persons from

whom documents have been subpoenaed.

                                                   s/R. Ryan Deligans
                                                   R. Ryan Deligans, OBA #19793
                                                   Lane R. Neal, OBA #22246
                                                   Lauren N. Lenahan, OBA #33552
                                                   Durbin, Larimore & Bialick
                                                   920 North Harvey
                                                   Oklahoma City, OK 73102-2610
                                                   Telephone: (405) 235-9584
                                                   Facsimile: (405) 235-0551
                                                   rdeligans@dlb.net; lneal@dlb.net;
                                                   llenahan@dlb.net
                                                          - and -
                                                   Jeremy Z. Carter, OBA #19772
                                                   The Carter Law Firm
                                                   131 NW 32nd Street
                                                   Newcastle, OK 73065
                                                   Telephone: (405) 392-3300
                                                   Facsimile: (405) 392-2417
                                                   jeremy@jzcarterlaw.com
                                                   Attorneys for Defendants




                                              2
#22074459.1
         Case 5:24-cv-00078-SLP       Document 31      Filed 11/27/24     Page 3 of 3




                                CERTIFICATE OF SERVICE
       ☒ I hereby certify that on November 27, 2024, I electronically transmitted the attached
document to the Clerk of Court using the ECF System for filing. Based on the records currently
on file, the Clerk of Court will transmit a Notice of Electronic Filing to the following ECF
registrants:

          Alan D. Schindler
          Colorado Bar #49270
          Greenspoon Marder LLP
          1144 15th Street, Suite 2700
          Denver, CO 80202
          Telephone: (303) 665-0860
          Alan.Schindler@gmlaw.com
                 - and -
          Mary H. Tolbert, OBA #17353
          Steptoe & Johnson PLLC
          101 N Robinson Ave., Suite 500
          Oklahoma City, OK 73102
          Telephone: (405) 930-5151
          Facsimile: (405) 212-5843
          molly.tolbert@steptoe-johnson.com
          Attorneys for Plaintiffs

                                                  s/R. Ryan Deligans
                                                  R. Ryan Deligans
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